                                                                  Case 3:22-cv-02646-LB Document 75 Filed 09/28/22 Page 1 of 1
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No.                                                            22-CV-2646

                                                                                                  PROOF OF SERVICE
                                              (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))


   This summons for Proctor & Gamble Company
 was recieved by me on 9/27/2022:

                                       I personally served the summons on the individual at (place) on (date) ; or


                                    I left the summons at the individual’s residence or usual place of abode with (name) , a person of suitable age and
                                    discretion who resides there, on , and mailed a copy to the individual’s last known address; or


                                    I served the summons on Daylen Platt , who is designated by law to accept service of process on behalf of Proctor &
          X
                                    Gamble Company09/27/2022; or


                                       I returned the summons unexecuted because ; or

                                    Other (specify)




          My fees are $ 0 for travel and $ 75.00 for services, for a total of $ 75.00.


          I declare under penalty of perjury that this information is true.

                                                                                                            {{t:s;r:y;o:"Signer";w:250;h:45;}}




Date:   09/28/2022
        {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




                                                                                                                                                  Server's signature



                                                                                                                                                 Ashly Galownia
                                                                                                                                                 Printed name and title



                                                                                                            5895 Privilege Dr.
                                                                                                            Hilliard, OH 43026


                                                                                                                                                   Server's address




           Additional information regarding attempted service, etc:

           I delivered the documents to Daylen Platt who indicated they were the person authorized to accept with identity
           confirmed by subject stating their name. The individual accepted service with direct delivery. The individual appeared
           to be a brown-haired white male contact 35-45 years of age, 5'6"-5'8" tall and weighing 180-200 lbs with glasses.




                                                                                                                                                               Tracking #: 0093978074
